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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF ALABAMA
                               NORTHERN DIVISION

SKY KING SATELLITE, INC.,                    )
                                             )
       Plaintiff,                            )
                                             )
v.                                           )                 Case No. 2:23-cv-175-SMD
                                             )
ELITE TECHNICIAN MANAGEMENT                  )
GROUP, LLC,                                  )
                                             )
       Defendant.                            )

                                          ORDER

       This case has been assigned to the undersigned Magistrate Judge. The parties have

the right to consent to the undersigned conducting all proceedings and entering judgment

in this case under 28 U.S.C. § 636(c). See infra p. 3. Attached to this order is a consent

form. See infra p. 4. It is

       ORDERED that any party wishing to provide such consent must complete the form

and submit it to the Clerk of Court by May 23, 2023. The parties may electronically prepare

and submit consent forms by logging into CM/ECF and selecting the Magistrate Judge

Consent Form event. The parties may also submit consent forms via mail to: Clerk, U.S.

District Court, One Church Street, Room B-110, Montgomery, AL 36104. The parties must

not file consent forms into the record.

       Alternatively, the parties have the right to request reassignment of this case to a

United States District Judge. Attached to this order is a reassignment form. See infra p. 5.
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Any party wishing to submit the reassignment form must mail it to the above address by

May 23, 2023. The parties may not electronically submit reassignment forms.

      DONE this 2nd day of May, 2023.




                                        Stephen M. Doyle
                                        CHIEF U.S. MAGISTRATE JUDGE




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       EXPLANATION OF ASSIGNMENT TO U.S. MAGISTRATE JUDGE

       This civil case has been randomly assigned to a United States Magistrate Judge.

Under 28 U.S.C. 636(c), the parties may consent to the assigned Magistrate Judge

conducting all proceedings and entering final judgment in this case. Any appeal from such

a judgment is taken directly to the United States Court of Appeals for the Eleventh Circuit

in the same manner as any appeal from any judgment entered by a United States District

Judge. Alternatively, the parties may freely decline consent and request reassignment of

this case to a United States District Judge without any adverse consequences.




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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF ALABAMA
                             NORTHERN DIVISION

SKY KING SATELLITE, INC.,                    )
                                             )
       Plaintiff,                            )
                                             )
v.                                           )                 Case No. 2:23-cv-175-SMD
                                             )
ELITE TECHNICIAN MANAGEMENT                  )
GROUP, LLC,                                  )
                                             )
       Defendant.                            )

CONSENT TO JURISDICTION BY A UNITED STATES MAGISTRATE JUDGE

       In accordance with the provisions of Title 28, U.S.C. § 636(c), the undersigned party
or parties to the above-captioned civil matter hereby confirm in writing their consent to a
United States Magistrate Judge conducting any and all further proceedings in the case,
including trial, and ordering the entry of a final judgment.

Signed this ____ day of ______________, 20_____.


                                   __________________________________________
                                   Signature
                                   __________________________________________
                                   Counsel For
                                   __________________________________________
                                   Address
                                   __________________________________________
                                   City, State Zip Code
                                   __________________________________________
                                   (Area Code) Telephone Number




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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF ALABAMA
                             NORTHERN DIVISION

SKY KING SATELLITE, INC.,                     )
                                              )
       Plaintiff,                             )
                                              )
v.                                            )                Case No. 2:23-cv-175-SMD
                                              )
ELITE TECHNICIAN MANAGEMENT                   )
GROUP, LLC,                                   )
                                              )
       Defendant.                             )

                    REQUEST FOR REASSIGNMENT OF CASE
                    TO A UNITED STATES DISTRICT JUDGE

        The undersigned party has read the Notice of Assignment To United States
Magistrate Judge and hereby declines to consent to the Magistrate Judge’s exercise of
civil jurisdiction in this case. The undersigned party requests reassignment of this case to
a United States District Judge. The party understands that this request may not be
revoked.

       Signed this ____ day of ______________, 20_____.
                                   __________________________________________
                                   Signature
                                   __________________________________________
                                   Counsel For
                                   __________________________________________
                                   Address
                                   __________________________________________
                                   City, State Zip Code
                                   __________________________________________
                                   (Area Code) Telephone Number



           **DO NOT ELECTRONICALLY FILE THIS DOCUMENT**




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